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   1 JOSEPH DIAZ, JR.
     Defendant In Pro Per
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                                                   05/18/2022
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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
  10
                                 WESTERN DIVISION
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       JANE DOE,                             Case No. 2:22-cv-02344-MEMF-GJS
  13
                   Plaintiff,                DEFENDANT’S ANSWER TO
  14
            v.                               COMPLAINT
  15
       JOSEPH ‘JOJO’ DIAZ, JR,               Courtroom: 8B
  16                                         Judge: Hon. Judge Maame Ewusi-
                   Defendant.                Mensah Frimpong
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                                             Complaint Filed: April 7, 2022
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                                              DEFENDANT’S ANSWER TO COMPLAINT
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   1        Defendant Joseph ‘JoJo’ Diaz, Jr. (“Defendant”) hereby answers the Complaint
   2 (the “Complaint”) of Plaintiff Jane Doe (“Plaintiff). Defendant generally denies each
   3 and every allegation except those hereinafter specifically admitted. Defendant further
   4 answers the numbered paragraphs of the Complaint as follows:
   5                                  INTRODUCTION
   6        Defendant admits that he is a world-champion boxer. Defendant denies all of
   7 the remaining allegations in the Introduction.
   8                                       PARTIES
   9        1.     Defendant is without sufficient information to admit or deny these
  10 allegations, and on that basis, Defendant denies the allegations in paragraph 1. To the
  11 extent a response is required, Defendant denies them.
  12        2.     Defendant admits the allegations in paragraph 2.
  13                                   JURISDICTION
  14        3.     The allegations in paragraph 3 state legal conclusions to which no
  15 response is required. To the extent a response is required, Defendants deny the
  16 allegations in paragraph 3.
  17        4.     The allegations in paragraph 4 state legal conclusions to which no
  18 response is required. To the extent a response is required, Defendants deny the
  19 allegations in paragraph 4.
  20        5.     The allegations in paragraph 5 state legal conclusions to which no
  21 response is required. To the extent a response is required, Defendants deny the
  22 allegations in paragraph 5.
  23                               STATEMENT OF FACTS
  24        6.     Defendant denies the allegations in paragraph 6.
  25        7.     Defendant is without sufficient information to admit or deny these
  26 allegations, and on that basis, Defendant denies the allegations in paragraph 7.
  27        8.     Defendant is without sufficient information to admit or deny these
  28 allegations, and on that basis, Defendant denies the allegations in paragraph 8.
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                                                         DEFENDANT’S ANSWER TO COMPLAINT
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   1        9.     Defendant is without sufficient information to admit or deny these
   2 allegations, and on that basis, Defendant denies the allegations in paragraph 9.
   3        10.    Defendant is without sufficient information to admit or deny these
   4 allegations, and on that basis, Defendant denies the allegations in paragraph 10.
   5        11.    Defendant is without sufficient information to admit or deny these
   6 allegations, and on that basis, Defendant denies the allegations in paragraph 11.
   7        12.    Defendant is without sufficient information to admit or deny these
   8 allegations, and on that basis, Defendant denies the allegations in paragraph 12.
   9        13.    Defendant is without sufficient information to admit or deny these
  10 allegations, and on that basis, Defendant denies the allegations in paragraph 13.
  11        14.    Defendant is without sufficient information to admit or deny these
  12 allegations, and on that basis, Defendant denies the allegations in paragraph 14.
  13                                 CAUSES OF ACTION
  14                             FIRST CAUSE OF ACTION
  15                     (18 U.S.C. 2422(b) Coercion and Enticement)
  16        15.    Defendant denies the allegations in paragraph 15.
  17        16.    Defendant denies the allegations in paragraph 16.
  18        17.    Defendant is without sufficient information to admit or deny these
  19 allegations, and on that basis, Defendant denies the allegations in paragraph 17.
  20        18.    Defendant is without sufficient information to admit or deny these
  21 allegations, and on that basis, Defendant denies the allegations in paragraph 18.
  22        19.    Defendant denies the allegations in paragraph 19.
  23        20.    Defendant denies the allegations in paragraph 20.
  24        21.    Defendant denies the allegations in paragraph 21.
  25        22.    The allegations in paragraph 22 state legal conclusions to which no
  26 response is required.
  27        23.    Defendant denies the allegations in paragraph 23.
  28        24.    Defendant denies the allegations in paragraph 24.
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                                                         DEFENDANT’S ANSWER TO COMPLAINT
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   1         25.   The allegations in paragraph 25 state legal conclusions to which no
   2 response is required.
   3         26.   Defendant denies the allegations in paragraph 26.
   4         27.   Defendant denies the allegations in paragraph 27.
   5                            SECOND CAUSE OF ACTION
   6     (18 U.S. Code 2255 Civil Remedy for Personal Injuries Against Defendant)
   7         28.   Defendant denies the allegations in paragraph 28.
   8         29.   Defendant denies the allegations in paragraph 29.
   9         30.   Defendant denies the allegations in paragraph 30.
  10         31.   The allegations in paragraph 31 state legal conclusions to which no
  11 response is required.
  12                                PRAYER FOR RELIEF
  13         32.   Defendant denies that Plaintiff is entitled to any relief from Defendant.
  14                     DEFENDANT’S AFFIRMATIVE DEFENSES
  15         33.   Pursuant to Fed. R. Civ. P. 8(c), Defendant asserts the following
  16 affirmative defenses, without admitting that he would bear the burden of proof on any
  17 of the following:
  18                          FIRST AFFIRMATIVE DEFENSE
  19                                (Failure to State a Claim)
  20         The Complaint does not set forth facts that support the claims made against
  21 Defendant. As a result, the Complaint, and each and every claim for relief against
  22 Defendant therein, fails to state a claim or cause of action against Defendant upon
  23 which relief can be granted.
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                                                          DEFENDANT’S ANSWER TO COMPLAINT
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   1                            SECOND AFFIRMATIVE DEFENSE
   2                                     (Innocent Intent)
   3        Plaintiff’s claims are barred, in whole or in part, because Defendant’s conduct
   4 was in good faith, innocent and with non-willful intent, at all times.
   5                          THIRD AFFIRMATIVE DEFENSE
   6                                       (Good Faith)
   7        The Complaint, and each and every claim for relief against Defendant therein,
   8 is barred, in whole or in part, because Defendant’s actions were at all times reasonable
   9 and were taken in the good faith regarding the matters which are the subject of the
  10 Complaint.
  11                               FOURTH AFFIRMATIVE
  12                                     (No Causation)
  13        Assuming, arguendo, that Plaintiff sustained a loss, injury, and/or damage, either
  14 as alleged in the Complaint or otherwise, such loss, injury, and/or damage are not
  15 recoverable from Defendant because any alleged act or omission of Defendant was not
  16 the cause of such loss, injury, and/or damage.
  17                          FIFTH AFFIRMATIVE DEFENSE
  18                                      (No Damages)
  19        Plaintiff’s claims for damages are barred, in whole or in part, because Plaintiff
  20 suffered no recognizable loss, injury and/or damage as a result of the matters which
  21 are the subject of the Complaint.
  22                          SIXTH AFFIRMATIVE DEFENSE
  23                                 (Speculative Damages)
  24        The Complaint, and each and every claim for relief against Defendant therein,
  25 is barred, in whole or in part, because the because the alleged damages, if any, are
  26 speculative, and because of the impossibility of ascertaining and allocating these
  27 alleged damages.
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                                                          DEFENDANT’S ANSWER TO COMPLAINT
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   1                            SEVENTH AFFIRMATIVE DEFENSE
   2                                     (Unclean Hands)
   3         The Complaint, and each and every claim for relief against Defendant therein,
   4 is barred, in whole or in part, by the doctrine of unclean hands.
   5                          EIGHTH AFFIRMATIVE DEFENSE
   6                                   (Unjust Enrichment)
   7         Defendant’s conduct as alleged in the Complaint was lawful. Any recovery by
   8 Plaintiff against Defendant is barred, in whole or in part, because Plaintiff would be
   9 unjustly enriched if allowed to recover anything from Defendant under the
  10 Complaint.
  11                           NINTH AFFIRMATIVE DEFENSE
  12                   (Wrongful, Negligent or Illegal Acts or Omissions)
  13         Plaintiff’s claims are barred, in whole or in part, by her own prior wrongful,
  14 negligent, or illegal acts or omissions directed at Defendant.
  15                          TENTH AFFIRMATIVE DEFENSE
  16                                      (Third Parties)
  17         Plaintiff’s claims are barred, in whole or in part, because one or more third
  18 parties are liable for the conduct alleged and will be required to answer and indemnify.
  19                        ELEVENTH AFFIRMATIVE DEFENSE
  20                                 (Statutes of Limitations)
  21         The Complaint, and each and every claim for relief against Defendant therein,
  22 is barred, in whole or in part, by the applicable statutes of limitations.
  23                        TWELFTH AFFIRMATIVE DEFENSE
  24                                         (Estoppel)
  25         Plaintiff’s claims are barred, in whole or in part, by legal and/or equitable
  26 estoppel.
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                                                            DEFENDANT’S ANSWER TO COMPLAINT
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   1                      THIRTEENTH AFFIRMATIVE DEFENSE
   2                                    (Mental Incapacity)
   3        Plaintiff’s claims are barred, in whole or in part, because Defendant lacked the
   4 mental capacity at the time the wrongful conduct alleged in the Complaint occurred.
   5                     FOURTEENTH AFFIRMATIVE DEFENSE
   6                                         (Waiver)
   7        Plaintiff’s claims are barred, in whole or in part, because Plaintiff has waived
   8 her rights to assert the claims.
   9                       FIFTEENTH AFFIRMATIVE DEFENSE
  10                              (Other Affirmative Defenses)
  11        Defendant reserves the right to supplement or amend this Answer, including
  12 through the addition of further affirmative defenses, based upon the course of
  13 discovery and proceedings in this action.
  14
  15                    DEFENDANT’S DEMAND FOR JURY TRIAL
  16        Defendant requests a trial by jury for each issue that is triable before a jury.
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  18 Dated: May 18, 2022
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  20                                          By:       /s/ Joseph Diaz, Jr.

  21                                          JOSEPH ‘JOJO’ DIAZ, JR.
                                              In Pro Per Defendant
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                                                              DEFENDANT’S ANSWER TO COMPLAINT
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   1                             CERTIFICATE OF SERVICE

   2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
            I am a resident of the County of Los Angeles, State of California. I am over
   3 the age of 18 and not a party to the within action.
   4        On May 18, 2022, I served the foregoing document(s) described as follows:
                                             ANSWER
   5        on the interested parties in this action, by placing a true copy thereof enclosed
   6 in a sealed envelope(s) addressed to the following addressee(s):
       Rajan O. Dhungana                                      Attorneys for Jane Doe
   7   FEDERAL PRACTICE GROUP
       431 N Brookhurst St, Suite 130
   8   Anaheim, CA 92801
       Email: rdhungana@fedpractice.com
   9
  10
  11         BY MAIL: I caused such envelope to be deposited in the mail at Los
       Angeles, California. The envelope was mailed with postage thereon fully prepaid.
  12   I am “readily familiar” with the law firm’s practice of collection and processing
       correspondence for mailing. Under the practice, it would be deposited with the
  13   U.S. Postal Service on that same day with postage thereon fully prepaid at Los
       Angeles, California, in the ordinary course of business. I am aware that on motion
  14   of a party served, service is presumed invalid if the postal cancellation date or
       postage meter is more than one day after the date of deposit for mailing the
  15   affidavit.
  16 [     BY E-MAIL: Per agreement of the Parties or based on a court order to accept
     service by e-mail, I caused the documents to be sent to the persons at the e-mail
  17 addresses listed above. I did not receive, within a reasonable time after the
     transmission, any electronic message or other indication that the transmission was
  18 unsuccessful.
  19          I declare under penalty of perjury under the laws of the State of California,
       that the above is true and correct.
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             Executed on May 18, 2022, at Los Angeles, California.
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  23                                   /s/ Joseph Diaz, Jr.
                                         Joseph Diaz, Jr.
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                                                              DEFENDANT’S ANSWER TO COMPLAINT
